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Fill in this information to identify your case:


Debtorl         Dorrie                            L                       Brose-Rosinski
                      Fhst   Name                     Middle   Name               Last   NamC-



Debtor 2                                                                                                                                 f   Check if this is an amended
lSpouse, if t                                                                                                                                plan, and list below the
                                                                                                                                             sections ofthe plan that have
                                                                                                                                             been changed.
United States Bankruptcy Court for         the:   Northern                  District Of: lllinois
                                                                                          (sEia--
Case number: 19-9944
(lf known)




 Official Form 1 13
 Chapter 13 Plan                                                                                                                                                    12t17


E                  ,.-.,r=t
To   Debtors:                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                             indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district, Plans that
                             do not comply with local rules and judicial rulings may not be confirmable.

                             ln the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated,
                             You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. lf you do not
                             have an attorney, you may wish to consult one.
                             lf you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                             confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                             Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                             Bankruptcy Rule 3015. ln addition, you may need to file a timely proof of claim in order to be paid under any plan.
                             The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the ptan
                             includes each of the following items. lf an item is checked as "Not lncluded" or if both boxes are checked, the provision wil!
                             be ineffective if set out later in the plan,


   1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                     I    lncluded     UNot included
                payment or no payment at all to the secured creditor

   1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                      n    lncluded    Z      Not included
                Section 3.4

   1.3          Nonstandard provisions, set out in Part 8                                                                           tr   lncluded     Mruot in"lra"d


EEtr                  Pl"r,      P"y-"nt"             L"rrsth of p1",,
                                              "rrd
2.1    Debtor(s) will make regular payments to the trustee as follows:

         $      469.00                  per   month          for   69    months

             [and $                     per nron]!_ for
                      _                                 _                months
         lf fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
         payments to creditors specified in this plan.
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       Regular payments to the trustee will be made from future income in the following manner:
       Check all that apply.
       I   O"Otor1r1 will make payrnents pursuant to a payroll deductron order.

       M   OeUtorls; will make payments direcily to the trustee.
       f   Otner (specify method of payment):

2.3    lncome tax refunds,
       Check one.
       f O.fto(.) will retain any income tax refunds recerved during the plan term.
       I o.rto(.) will supply the trustee with a copy of each income tax return flled during the plan term within 14 days of filing the return and will
           turn over to the trustee all income tax refunds received during the plan term.
       E   o"Oto4.1 will treat income tax refunds as follows:
           Debtor(s) shall submit a copy of their federal income tax return to the Trustee each yeal beginning with the tax return for
                                                                                                                                         the tax
           year in which this case was filed, no later than April 20th. The debtor(s) shall tendeito the Tiusteelhe amount of
                                                                                                                                any tax refund in
           excess of $1,200.00 each year, beginning the year after the plan is coniirmed, within 7 days of receipt of the tax refund. Refunds
           must be received by the Trustee by June B0th of each vear.
2.4 Additional payments.
       Check one.
       E lon". lf "None" is checked, fhe resf ofs 2.4 need not be compteted or reproduced.
       n Oebtorls; Wll make additional payment(s) to the trustee from other sources, as specified below. Describe                  the source, estimated amount,
           and date of each anticipated payment.
       lenter source]                                                                                   $ o.oo                            lanticipated dtl
2.5    The total amount of estimated payments to the trustee provided for in gg                2.i   and 2.4   is $ $28,'l40.OO




3.'l   Maintenance of payments and cure of default, if any.

       Check one.
       I non". lf "None" is checked, fhe resf of$ 3. 7 need not be completed or reproduced.
       Z fn" debto(s) will maintain the current contractual installment payments on the secured claims listed below, Wth any changes required by
           the applicable contract and noticed in conformity Wth any applicable rules. These payments will be disbursed either by the trustee or
           directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
           trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim flled before the
           filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and
           arearage. ln the absence of a contrary timely filed proof of claim, the amounts stated below are conholling. lf relief from the automatic stay
           is ordered as to any item of collateral listed in this paragraph, then, unless otheMise ordered by the court, all payments under this
           paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
           column includes only payments disbursed by the trustee rather than by the debto(s).

                                                                                  Current               Amount of        lnterest rate     Monthly plan      Estimated total
                Name of creditor                                                installment
                                                       Collateral                                      arrearage (lf    on arrearage       payment on         payments by
                                                                                 payment
                                                                                                           any)         (lf applicable)     arrearage            trustee
                                                                                /incL rdind
       Nationstar Mortgage DBA Mr.           236 E PalmerAve               |   926.00                $ 19,000.00                     ol                      1   9,000.00
       Cooper                                Northlake, lL 60164
                                                                           )istributed by:
                                                                           __l    I   rustee

                                                                           /     oeoto4.;



       lnseft additional c/arms as needed.
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3'2    Request for valuation of security, payment of fully secured claims,
                                                                           and modification of undersecured claims. check one.
       Z lon".      tf "None"   is checked,fhe rest ofg 3.2 need               not be compteted        or   reproduced.
           The remainder ot this paragraph will be eftective only                   if   the applicable box in part       I of this plan is    checked.
       n     rn"  debtor(s) request that the court determine the value of the secured
                                                                                          claims listed below. For each non-governmental secured claim
             listed below, the debtor(s) state that the value of the secured claim should
                                                                                              be as set out in the column headed Amount of secured
             c/aim' For secured claims of governmental units, unless otherwise ordered
                                                                                              by the court, the value of a secured claim listed in a proof of
             claim filed in accordance wth the Bankruptcy Rules controls
                                                                               over any contrary amount listed below. For each listed claim, the value of
             the secured claim will be paid in full with interest at the rate stated below.
             The portion of any allowed claim that exceeds the amount of the secured
                                                                                              claim will be treated as an unsecured claim under part s of this
             plan' lf the amount of a creditor's secured claim is
                                                                     listed below as having no value, the creditofs allowed claim will be treated in its entirety
             as an unsecured claim under Part 5 of this plan. Unless olherwise
                                                                                       ordered by the court, the amount of the creditors total claim listed on the
             proof of claim controls over any contrary amounts listed in
                                                                              this paragraph.
             The holder of any claim listed below as having value in the column headed
                                                                                                 Amount of secured clam will retain the lien on the property interest
             of the debtor(s) or the estate(s) until the earlier of:

             (a) payment of the underlying debt determined under nonbankruptcy law, or
            (b) discharge of the underlying debt under|              1 U.S.C. $ '1328, at which time the lien will terminate and be released by the
                                                                                                                                                    creditor.
                                  Estimated
                                  amount of                                          Value of             Amount of                                               Monthly            Estimated total
      Name of Creditor                                       Collateral                                                   Amount of
                                creditor's total                                                       claims senior tc                   lnterest rate          payment to            of monthly
                                                                                     Collateral                         secured claim
                                    claim                                                              creditor's claim                                           creditor             payments

                                $                                                                      $                                                  % $                        $

       lnsert additional claims as needed.

3.3   Secured claims excluded from                 1i   U.S.C. S 506.
      Check one.

      El ron".     tf "None" is checked, theresf of g 3.3           ne    ed   not be completed    or       reproduced.

      fl    The claims listed belowwere either;
      (1) incurred within 9'10 days before the petition date and secured by a purchase money security interest in
                                                                                                                  a motor vehicle acquired for the
            personal use ofthe debtor(s), or
      (2) incurred within 1 year of the petition date and secured by a purchase money security interest
                                                                                                          in any other thing of value.
      These claims will be paid in full under the plan with interest at the rate stated below. These payments
                                                                                                               will be disbursed either by the trustee or
      directly by the debtor(s), as specified below. Unless othenarise ordered by the court, the claim amount
                                                                                                                stated on a proof of claim filed before the
      filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below.
                                                                                                        ln the absence of a contrary timely filed proof of
      claim, the amounts stated below are controlling. The final column includes only payments
                                                                                                  disbursed by the trustee rather than by the debto(s).



                                                                                                                              Amount of                                                  Estimated total
                         Name of Creditor                                                 Collateral                                                                     Monthly plan
                                                                                                                                              lnterest rate                               payments by
                                                                                                                                claim                                     payment
                                                                                                                                                                                             trustee
                                                                                                                                                                ol   $_                  $

                                                                                                                                                                     Distributed by:

                                                                                                                                                                     7     Trustee

                                                                                                                                                                     f     oeoto4sl
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 3.4 Lien avoidance,

       Check one.


       fl    None. lf "None" is checked, therest ofs s.4                  ne     ed   not   be completed or reproduced.
            The remainder of this paragraph will be etfective only if the applicable box in part I of this plan is checked.
       n     rn" j'Oititt liens or nonpossessory, nonpurchase money security interests securing
                                                                                                the claims listed below impair exemptions to which the
             debtor(s) would have been entitled under 1'1 u.s.c. 522(b). Unless
                                                                S                otherwise ordered by the court, a judicial lien or security interest
             securing a claim listed below will be avoided to the extent that lt impairs
                                                                                            such exemptions upon entry of the order confirming the plan. The
             amount of the judicial lien or securi$ interest that is avoided will be
                                                                                       treated as an unsecured claim in part s to the extent allowed. The
             amount, if any, of the judicial lien or security interest that is not avoided will
                                                                                                be paid in full as a secured claim under the plan. See 1 1 U.S.C.
             S 522(0 and Bankruptcy Rule 4003(d). lf more than one lien rls fo De avoiaed, provide the information
                                                                                                                                separatety for each tien.

                          lnformation regarding judicial
                                                                                            Calculation of Iien avoidance               Treatment of [emaining secured
                              lien or security interest
                                                                                                                                                      claim
                         Name of creditor                      la. Amount of Lien

                                                               I
                                                                                                                        t_          Amount of secured claim aftei
                                                                                                                                    avoidance (line a minus line f)
                                                                   b. Amount of all other liens
                                                               I                                                        $_          $

                                                               1". Vatu" of claimed exemptions
                         Collateral                        I
                                                                                                                        *$_         lnterest rate (if applicable)
                                                                   o, Tot"l of              lines a, b, and c                                          %
                                                           I

                                                           I
                                                                                 "dding                                 $    0.00

                                                           I
                                                             e. Vatue of debto(s)' interest in property
                         Lien identification (such as      I


                         iudgment date, date of lien                                                                                $
                                                           It. Srotra"t line e from tine d.
                         recording, book and page                                                                       $;
                         number)                           I                                                                        Estimated total payments on secured
                                                                   Extent of exemption impairment                                   claim
                                                                   (Check applicable box);

                                                               I       Une t is equal to or greater than line a
                                                               The entire lien is avoided. (Do not complete
                                                               the next column.)

                                                               [-l     Line t ts less than line a.
                                                               A portion of the lien is avoided. (Complete
                                                               the next column.)



                        lnsert additional claims as needed.



3.5   Surrender of collateral.
Check one.

      Z     ruon". lf "None"   is   checked, fhe rest   ofg 3.s need              not   be   compreted or reproduced.

      f      rne debto(s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim. The debto(s)
                                                                                                                                              request that
            upon confirmation of this plan the stay under '1 I U. S. C. 362(a) be terminated as to the collateral
                                                                       S                                          only and that the stay under g 1 301
            be terminated in all respects. Any allowed unsecured claim resulting from the disposition of
                                                                                                           the collateral will be treated in part 5 below.
            Name of Creditor                                                                                    Collateral




            lnsert additional claims as needed.
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                       Treatment of Fees and priority Gtaims

4.{       General

                                     allowed prioritv claims, including domestic support obtigations other
                                                                                                           than those treated in g 4.s, wiil be paid in ful without
          J::il::,,t    ffir:llall
4.2    Trustee,s fees

       Trustee's fees are governed by statute and may change during
                                                                    the course ofthe case but are estimated to be 5.500                  %   of plan payments; and
       during the plan term, they are estimated to total $ 1,547.2O


4.3    Attorney's fees

       The balance of the fees owed to the attorney for the debto(s)                                  $ z,zoo.oo
                                                                     is estimated           1o   6"
4.4    Priority claims other than attorney's fees and those treated in
                                                                                   S 4.S.
       Check one.

      I Hon". lf "None" is checked, the rest of g 4.4 need not be compreted or reproduced.
      zl rn" o"oto4s) estimate the totar amount of other priority craims to be $ 2,101 .00
4'5   Domestic support obligations assigned or owed to a governmental
                                                                      unit and paid less than full amount.
      Check one.

      U       Non". tf "None" is checked, theresf ofg 4.s need not be compreted or reproduced.

      I       the alloweo priority claims listed below are based on a domestic support obligation that
                                                                                                       has  been assigned to or is owed to a
              governmental unit and will be paid less than the full amount
                                                                           of the claim under 1 1 U.S.c. S 1322(a)(4). This plan provision
              requires that payments in S 2.1 be for a term of 60 months; see 1 1
                                                                                   U.S.C. j 322(a)(4).
                                                                                                 S
              Name of Creditor
                                                                                                         Amount of claim to be paid

                                                                                                         $

              lnsefi additional claims as needed.




                      Treatment of Nonpriority Unsecured Glaims

      Nonpriority unsecured claims not separately classified.

      Allowed nonpriority unsecured claims that are not separately classifled will be paid, pro
                                                                                                rata. lf more than one option is checked, the option
      providing the largest payment will be effective . Check ail that apply.

          I      rnu sum of    $   __.--.
          U      t   o.ooo % of the totar amount of these craims, an estimated payment      of   $ 2,023.00

          I      fnu funds remaining after disbursements have been made to all other creditors provided for in
                                                                                                               this plan.
                lf the estate of the debto(s) were liquidated under chapter 7, nonpriority unsecured
                                                                                                     claims would be paid approximately $
                Regardless of the options checked above, payments on allowed nonpriority unsecured
                                                                                                         claims will be made in at least this    a-mounf--
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5.2   Maintenance of payments and cure of any default on nonpriority unsecured
                                                                               claims. Check one.

          Z    non". lf "None" is checked, fhe resf ofs s.2 need not be compreted or reproduced.

          n    fn" debtor(s) will maintain the contractual installment payments and cure any default in payments
                                                                                                                    on the unsecured claims listed below
               on which the last payment is due after the final plan payment. These payments will
                                                                                                    be disbursed either by the trustee or direcly by the
               debto(s), as specified below. The claim for the arrearage amount will be paid in full as specified
                                                                                                                  below and disbursed by the trustee.
               The final column includes only payments disbursed by the trustee rather
                                                                                        ihan by the debtor(s).

                     Name of creditor                                                       Current             Amount of             Estimated total
                                                                                            installment         arrearage to be       payments by
                                                                                            payment             paid                  trustee
                                                                                        $=-                $                      $

                                                                                        Distributed by:

                                                                                        l! l   lrustee

                                                                                        I      oeotorlsl

           lnsert additional claims as needed.

  5.3     Other separately classified nonpriority unsecured claims. Check one.

          Z lon". lf "None" is checked,fhe resf of g s.3 need not be ampreted or reproduced.
          I fn" nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows

                                  Name of creditor                   Basis for separate classification and     treatment      Amount to be          lnterest rate Estimated total
                                                                                                                                                                     amount of
                                                                                                                              patd on clatm        (if   aoplicable)
                                                                                                                                                                '    payments

                                                                                                                                                                 %$
          lnseft additional claims as needed.




                  Executory Contracts and Unexpired Leases

6'1   The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All
                                                                                                                  other executory contracts
      and unexpired leases are rejected. Check one.

      Z   Non". lf "None" is checked, the resf ofg 6.1 need not be completed or reproduced.

      I   Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject
          to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments
                                                                                                                                             disbursed
          by the trustee rather than by the debto(s).

                                               Description of leased property or              Current             Amount of                                                         Estimated total
              Name of creditor                                                              installment                                     Treatment of arrearage
                                                      executory contract                                       arrearage to be                                                       payments by
                                                                                                                                  (refer to other plan section if applicable)
                                                                                             payment                   paid                                                             trustee
                                                                                    $                      u                                                                    $

                                                                                    Disbursed by:

                                                                                    7       Trustee

                                                                                    ]       oeoto4sl

          lnsert additional contracts orieases as needed
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                Vesting of Property of the

  7.1 Property of the estate will vest in the debtor(s) upon
        Check the applicable box:

       M     pUn confirmation,

       [
            "ntryofdischarge.
       n    other:




               Nonstandard Plan provisions

 8.1 Gheck "None,, or List Nonstandard plan provisions
       E   ron". tf    'None"   is   checked, the rest of paft g need not be ampreted or reproduced.

 under Bankruptcy Rule 3015(c)., nonstandard provisions must
                                                             be set fotth betow, A nonstandard provision          a   provision not othetwise included
                              it' Nonstandardprovlsrbns set o ut etseiiere ii'inii iirn are ineffective. is
 official Form or deviating from                                                                                                                         in   the

 The   following plan provisions wilt be effective onty if there is a check
                                                                            in the box ,,tnctuded,, in g l,J.



               Signature(s):

 9.{ Signatures of Debtor(s) and Debtor(s),Attorney
lf the Debtor(s) do not have an attorney, the Debtor(s) must
                                                             sign betow; otherwise the Debtor(s) signatures are   optional. The aftorney for the
must sign below.                                                                                                                                   Debtor(s), if any,



   x
       Signature of Debto|I                                                  Signature of Debtor 2

       Executed on                                                           Executed on
                       MM   /   DD /YYYY                                                   IVM   /   DD /YYYY



   ,c/s/ Neal S.
                     Gainsberg                                       Date    04             2019
       Signature of Attorney for Debto(s)                                     IVM   /   DD /YYYY


By filing this document, the Debtor(s), if not represented by an
                                                                  attorney, or the Attorney for Debtor(s)
also certify(ies) that the wording and order of the provisions in this chapter
                                                                                13 plan are identical to
those contained in official Form '113, other than any nonstandard provisions
                                                                                 included in part g.
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 Exhibit: Total Amount of Estimated rrustee payments
       The following are the estimated payments.that the plan requires
                                                                       the trustee to disburse. lf there is any difference between the amounts
       out below and the actual plan termi, the plan terms control.                                                                            set

 a.    Maintenance and cure payments on secured craims (part 3, section 3.1
                                                                            totatl                          $   '19,000.00

b.     Modified secured claims         e Section 3.2 totat)
                               lpar{                                                                        $

c'     secured craims excruded from 11 u,s.c. so6 (parf 3, secfion
                                             s                     3.3 tota,                                $

d.     Judicial llens or security interests partially avoided (part 3, section 3.4 tata|                    $

e.     Fees and priority claims (paft 4 totat)                                                              $   5,848.70

f'     Nonpriority unsecured craims (parf 5, section s.1, highest stated amounf)                            $   2,023.00

s.     Maintenance and cure payments on unsecured claims (parf
                                                                       d section   5.2 total)               $


h.    Separately classified unsecured claims (par{ g, Section 5.3 fofal)                                    $

i.    Trustee payments on executory contracts and unexpired leases (pad
                                                                                   e   Section 6.1 totat)   $

j.    Nonstandard payments (Paft A, tota|


      Total of lines a through j
                                                                                                            $   26,871.70
